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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA



    UNITED STATES OF AMERICA                            CRIMINAL NO. I:19crl92


                    V.                                                                FILED
                                                                                .IN OPEN COURT

    WMT Brasilia S.a.r.l.



                                     PLEA AGREEMENT                                    D'strict court
                                                                              ALEXANDRIA. viariiMi,s


        The United States of America, by and tlirough the Department of Justice, Criminal

Division, Fraud Section and the United States Attomey's Office for the Eastem District of

Virginia (the "Fraud Section and the Office"), and the Defendant, WMT Brasilia S.a.r.l.(the
"Defendant' or"WMT Brasilia"), by and through its undersigned attomeys, and through its
authorized representative, pursuant to authority granted by the Defendant's Board of Managers,
hereby submit and enter into this plea agreement (the "Agreement"), pursuant to Rule

II(c)(1)(C) ofthe Federal Rules of Criminal Procedure. The terms and conditions of this

Agreement are as follows:

                                  The Defendant's Agreement

        1.     Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the Defendant agrees to waive its right
to grand jury indictment and its right to challenge venue in the District Court for the Eastem

District of Virginia, and to plead guilty to a one-count Information charging the Defendant with
causing a violation of the books and records provisions of the Foreign Corrupt Practices Act of
1977("FCPA"),in violation of Title 15, United States Code, Sections 78m(b)(2)(A), 78m(b)(5),
78ff(a), and Title 18, United States Code, Section 2(b). The Defendant further agrees to persist
in that plea through sentencing and, as set forth below, to cooperate fully with the Fraud Section
and the Office in their investigation into the conduct described in this Agreement and other

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conduct under the FCPA related to potential corrupt payments and related false books and

records and failure to implement adequate internal accounting controls.

        2.      The Defendant was the majority-owner of Walmart's wholly-owned subsidiary in

Brazil, which was headquartered in Sao Paulo,Brazil. Accordingly, WMT Brasilia was the

majority owner of Walmart Brazil and was the majority owner of retail stores operating as

Walmart Brazil. The Defendant was also an indirect, wholly-owned subsidiary of Walmart Inc.

("Walmart" or the "Parent Company"), which was an issuer of securities registered pursuant to

Title 15, United States Code, 781. The Defendant understands that, to be guilty ofthe offense

charged in the Information, the following essential elements ofthe offense must be satisfied:

                a.      The Defendant's Parent Company, Walmart, was an issuer of securities

                        registered pursuant to Title 15, United States Code, Section 781 during the

                        relevant time period;

                b.      The Defendant did knowingly and willfully cause Walmart to maintain

                        certain false books, records, or accounts such that certain Walmart books,

                        records, or accounts did not fairly reflect the transactions and dispositions

                        of Walmart's assets.

       3.       The Defendant understands and agrees that this Agreement is between the Fraud

Section, the Office, and the Defendant and does not bind any other division or section ofthe

Department of Justice or any other federal, state, or local prosecuting, administrative, or

regulatory authority. Nevertheless, the Fraud Section and the Office will bring this Agreement

and the nature and quality ofthe conduct, cooperation and remediation ofthe Defendant, its

direct or indirect affiliates, subsidiaries, and joint ventures, to the attention of other prosecuting
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authorities or other agencies, as well as debarment authorities and Multilateral Development

Banks("MDBs"), if requested by the Defendant.

       4.      The Defendant agrees that this Agreement will be executed by an authorized

corporate representative. The Defendant further agrees that a resolution duly adopted by the

Defendant's Board of Managers in the form attached to this Agreement as Exhibit 1, authorizes

the Defendant to enter into this Agreement and take all necessary steps to effectuate this

Agreement, and that the signatures on this Agreement by the Defendant and its counsel are

authorized by the Defendant's Board of Managers, on behalf ofthe Defendant.

       5.      The Defendant agrees that it has the full legal right, power, and authority to enter

into and perform all of its obligations under this Agreement.

       6.      The Fraud Section and the Office enter into this Agreement based on the

individual facts and circumstances presented by this case and the Defendant, including:

               a.     the Parent Company is entering into a non-prosecution agreement(the

"Walmart NPA")simultaneously to the Defendant entering its guilty plea;

               b.     the Defendant did not receive voluntary disclosure credit because it did

not voluntarily and timely disclose, through the Parent Company,to the Fraud Section and the

Office the conduct described in the Statement of Facts attached hereto as Exhibit 2("Statement

of Facts"). Although the Parent Company disclosed the conduct related to Brazil prior to the

Fraud Section or the Office learning of that conduct, such disclosure was after the Fraud Section

and the Office had already begun investigating the Parent Company relating to conduct in

another country;

               c.     the Defendant received full credit for its cooperation with the Fraud

Section and the Office's investigation through the Parent Company. Its cooperation included:
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conducting a thorough internal investigation; proactively identifying issues and facts that would

likely be of interest to the Fraud Section and the Office and providing updates to the Fraud

Section and the Office; making regular factual presentations to the Fraud Section and the Office

and sharing information that might not have been otherwise available to the Fraud Section and

the Office; voluntarily making foreign-based employees available for interviews in the United

States; producing documents, including translations, to the Fraud Section and the Office from

entities in Brazil in ways that did not implicate foreign data privacy laws; obtaining cooperation

offormer employees and third parties, including their consent to interviews; providing counsel to

individual employees and former employees to facilitate their cooperation; collecting, analyzing,

and organizing voluminous evidence and information for the Fraud Section and the Office; and

identifying, investigating, and disclosing conduct to the Fraud Section and the Office that was

outside the scope of the Parent Company's initial disclosures;

               d.      by the completion of the investigation, the Defendant, through the Parent

Company, provided to the Fraud Section and the Office all relevant facts known to it, including

information about the individuals involved in the conduct described in the attached Statement of

Facts and conduct disclosed to the Fraud Section and the Office prior to the Agreement;

               e.      the Defendant,through the Parent Company, has engaged in significant

remedial measures, including enhancing its anti-corruption compliance program and internal

accounting controls related to anti-corruption, including:(1) hiring a Global Chief Ethics &

Compliance Officer("CECO") who holds an Executive Vice President position, an International

Chief Ethics & Compliance Officer ("International CECO"), and a dedicated Global Anti-

Corruption Officer, with separate reporting lines to the Audit Committee ofthe Board of

Directors;(2)adding dedicated regional and market Chief Ethics & Compliance Officers, foreign
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market anti-corruption directors and anti-corruption compliance personnel at the Parent

Company's home office and in the Company's foreign markets, with separate reporting lines to

the Audit Committee ofthe Board of Directors;(3)conducting, across each of the Parent

Company's markets, enhanced monthly and quarterly anti-corruption monitoring by dedicated

Company Financial Controls and Continuous Improvement Teams(who monitor at the store-

level), with results tracked in a centralized, real-time automated monitoring system;(4)

enhancing annual anti-corruption risk assessments across all international markets;(5)enhancing

on-site global anti-corruption audits to test adherence to enhanced anti-corruption related internal

accounting controls and procedures;(6)enhancing anti-corruption related internal accounting

controls on the selection and use of third parties, including building a custom third party

automated portal to evaluate, manage and identify third party intermediaries and conducting third

party audits and risk-based anti-corruption training ofthird parties;(7)enhancing global anti-

corruption training and awareness program,including enhanced onboarding and annual in-person

and computer-based anti-corruption training for Directors, senior management, and employees

most likely to interact directly or indirectly with government officials;(8)implementing an

automated global license management system for obtaining and renewing licenses and permits

and a global donation management system, which enhances controls relating to charitable

donations; and(9)terminating business relationships with third parties involved in the conduct at

issue;

               f.      the Defendant, through the Parent Company, has enhanced and has

committed to continuing to enhance its compliance program and internal controls;

               g.      based on the Defendant's remediation and the state of its compliance

program, and the Parent Company's agreement in its NPA to retain an independent compliance
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monitor, the Fraud Section and the Office determined that an independent compliance monitor

was unnecessary for the Defendant;

               h.     the nature and seriousness ofthe offense conduct;

               i.     the Defendant has no prior criminal history; and

              j.      the Defendant has agreed to continue to cooperate with the Fraud Section

and the Office in any ongoing investigation ofthe conduct ofthe Defendant, its subsidiaries,

Parent Company and affiliates, and its officers, directors, employees, agents, business partners,

distributors, and consultants relating to violations ofthe FCPA.

               Accordingly, after considering (a)through (j) above, the Defendant received an

aggregate discount of25% off ofthe bottom ofthe applicable United States Sentencing

Guidelines("U.S.S.G.") fine range, as calculated below.

       7.      The Defendant agrees to abide by all terms and obligations ofthis Agreement as

described herein, including, but not limited to, the following:

               a.      to plead guilty as set forth in this Agreement;

               b.      to abide by all sentencing stipulations contained in this Agreement;

               c.      to appear, through its duly appointed representatives, as ordered for all

court appearances, and obey any other ongoing court order in this matter, consistent with all

applicable U.S. and foreign laws, procedures, and regulations;

               d.      to commit no further crimes;

               e.      to be truthful at all times with the Court; and

               f.      to pay the applicable fine and special assessment.

        8.     Except as may otherwise be agreed by the parties in connection with a particular

transaction or any transaction disclosed to the Fraud Section and the Office prior to the date this
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Agreement is entered, the Defendant agrees that in the event that, during the three years after the

date ofsentencing, the Defendant undertakes any change in corporate form,including if it sells,

merges, or transfers business operations that are material to the Defendant's consolidated

operations as they exist as ofthe date ofthis Agreement, whether such sale is structured as a sale,

asset sale, merger, transfer, or other change in corporate form, it shall include in any contract for

sale, merger, transfer, or other change in corporate form a provision binding the purchaser, or

any successor in interest thereto, to the obligations described in this Agreement. The purchaser

or successor in interest must also agree in writing that the Fraud Section and the Office's ability

to determine that there has been a breach under this Agreement is applicable in full force to that

entity. The Defendant agrees that the failure to include these provisions in the transaction will

make any such transaction null and void. The Defendant shall provide notice to the Fraud

Section and the Office at least thirty days prior to undertaking any such sale, merger, transfer, or

other change in corporate form. If the Fraud Section and the Office notify the Defendant prior to

such transaction (or series oftransactions) that it has determined that the transaction(s) has the

effect ofcircumventing or frustrating the enforcement purposes ofthis Agreement, as determined

in the sole discretion ofthe Fraud Section and the Office, the Defendant agrees that such

transaction(s) will not be consummated. In addition, if at any time during the three years the

Fraud Section and the Office determine in their sole discretion that the Defendant has engaged in

a transaction(s) that has the effect of circumventing or frustrating the enforcement purposes of

this Agreement, it may deem it a breach ofthis Agreement pursuant to Paragraphs 22-24.

Nothing herein shall restrict the Defendant from indemnifying(or otherwise holding harmless)

the purchaser or successor in interest for penalties or other costs arising from any conduct that

may have occurred prior to the date of the transaction, so long as such indemnification does not
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have the effect ofcircumventing or frustrating the enforcement purposes of this Agreement, as

determined by the Fraud Section and the Office.

        9.       The Defendant shall cooperate fully with the Fraud Section and the Office in any
and all matters relating to the conduct described in this Agreement and the Statement ofFacts,

subject to applicable law and regulations, until the later ofthe date upon which all investigations
and prosecutions by the Fraud Section and Office arising out of such conduct are concluded, or

three years from the date this Agreement is entered. At the request ofthe Fraud Section and the

Office, the Defendant shall also cooperate fully with other domestic or foreign law enforcement
and regulatory authorities and agencies, as well as MDBs,in any investigation ofthe Defendant,
Parent Company or its affiliates, or any ofits present or former officers, directors, employees,
agents, and consultants, or any other party, in any and all matters relating to the conduct
described in this Agreement and the Statement of Facts. The Defendant agrees that its
cooperation pursuant to this paragraph shall include, but not be limited to, subject to applicable
law and regulation, including relevant privilege, data privacy, and national security regulations,
the following:

                 a.    Upon request ofthe Fraud Section and the Office, and subject to

applicable law and regulation, the Defendant shall truthfully disclose all factual information

related to the conduct described in the Statement ofFacts that is not protected by attorney-client
privilege or attorney work product doctrine. This includes conduct ofthe Defendant's affiliates

and present and former directors, officers, employees, agents, and consultants. This obligation of
truthful disclosure includes, but is not limited to, the obligation ofthe Defendant to provide to
the Fraud Section and the Office, upon request, any document, record, or other tangible evidence
that is not privileged or subject to the attorney work product protection about which the Fraud
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 Section and the Office may inquire ofthe Defendant related to the conduct described in the
 Statement of Facts.

                b.     Upon request of the Fraud Section and the Office, the Defendant shall
 designate knowledgeable employees, agents, or attorneys to provide to the Fraud Section and the
 Office the information and materials described in Paragraph 9(a)above on behalfofthe
 Defendant. It is further understood that the Defendant must at all times provide complete,
truthful, and accurate information.

               c.      The Defendant shall use its best efforts to make available for interviews or

testimony, as requested by the Fraud Section and the Office, present or former officers, directors,
employees, agents, and consultants ofthe Defendant. This obligation includes, but is not limited
to, swom testimony before a federal grand jury or in federal trials, as well as interviews with

domestic or foreign law enforcement and regulatory authorities. Cooperation under this
Paragraph shall include identification of witnesses who,to the knowledge ofthe Defendant, may
have material information regarding the matters under investigation.
               d.      With respect to any information, testimony, documents, records, or other
tangible evidence provided to the Fraud Section and the Office pursuant to this Agreement, the
Defendant consents to any and all disclosures, subject to applicable law and regulations, to other
governmental authorities, including United States authorities and those ofa foreign government,
as well as MDBs,ofsuch materials as the Fraud Section and the Office, in their sole discretion,
shall deem appropriate.

       10.    For a period of three years from the date this Agreement is entered, should the
Defendant learn of any evidence or allegation of conduct that may constitute a violation of the
FCPA anti-bribery or accounting provisions had the conduct occurred within the jurisdiction of
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 the United States, the Defendant shall promptly report such evidence or allegation to the Fraud
 Section and the Office. Three years after the date of the sentencing, the Defendant, by two
 members of its Board of Managers, will certify to the Fraud Section and the Office that the
 Defendant has met its disclosure obligations pursuant to this Paragraph. Each certification will be
 deemed a material statement and representation by the Defendant to the executive branch of the
 United States for purposes of 18 U.S.C. § 1001, and it will be deemed to have been made in the
judicial district in which this Agreement is filed.

        11.     The Defendant agrees that any fine or restitution imposed by the Court will be due
and payable within ten business days ofsentencing, and the Defendant will not attempt to avoid
or delay payment, except as otherwise specified in Paragraph 17 below. The Fraud Section, the
Office, and the Defendant do not believe that restitution is applicable in this case. The
Defendant further agrees to pay the Clerk ofthe Court for the United States District Court for the
Eastern District of Virginia the mandatory special assessment of$400 per count within ten
business days from the date ofsentencing.

                                 The United States* Agreement

        12.    In exchange for the guilty plea ofthe Defendant and the complete fulfillment of
all of its obligations under this Agreement, the Fraud Section and the Office agree they will not
file additional criminal charges against the Defendant or any ofits direct or indirect subsidiaries,
joint ventures, or Parent Company (except as specified in the non-prosecution agreement with
the Parent Company),or other parent corporations relating to any ofthe conduct described in the
Statement of Facts. The Fraud Section and the Office, however, may use any information related
to the conduct described in the attached Statement of Facts against the Defendant:(a)in a
prosecution for perjury or obstruction ofjustice;(b)in a prosecution for making a false


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  statement;(c)in a prosecution or other proceeding relating to any crime of violence; or(d)in a
  prosecution or other proceeding relating to a violation ofany provision ofTitle 26 ofthe United
 States Code. This Agreement does not provide any protection against prosecution for any future
 conduct by the Defendant or any ofits present or former parents or subsidiaries. In addition, this
 Agreement does not provide any protection against prosecution ofany individuals, regardless of
 their affiliation with the Defendant or any of its present or former parents or subsidiaries.
                                            Factual Ba.sis

         13.    The Defendant is pleading guilty because it is guilty ofthe charges contained in
 the Information. The Defendant admits, agrees, and stipulates that the factual allegations set
 forth in the Information and Statement of Facts are true and correct, that it is responsible for the
 acts ofits officers, directors, employees, and agents described in the Information and Statement
 of Facts, and that the Information and Statement of Facts accurately reflect the Defendant's
criminal conduct.

               The Defendant's Waiver of Rights. Including the Right to Anneal

        14.     Federal Rule of Criminal Procedure 11(f) and Federal Rule ofEvidence 410 limit
the admissibihty ofstatements made in the course of plea proceedings or plea discussions in both
civil and criminal proceedings, ifthe guilty plea is later withdrawn. The Defendant expressly
warrants that it has discussed these rules with its counsel and understands them. Solely to the
extent set forth below, the Defendant voluntarily waives and gives up the rights enumerated in
Federal Rule of Criminal Procedure 11(f) and Federal Rule ofEvidence 410. Specifically, the
Defendant understands and agrees that any statements that it makes in the course ofits guilty
plea or in connection with the Agreement are admissible against it for any purpose in any U.S.
federal criminal proceeding if, even though the Fraud Section and the Office have fulfilled all of


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 their obligations under this Agreement and the Court has imposed the agreed-upon sentence, the
 Defendant nevertheless withdraws its guilty plea.
         15.    The Defendant is satisfied that the Defendant's attorneys have rendered effective
 assistance. The Defendant understands that by entering into the Agreement,the Defendant
 surrenders certain rights as provided in the Agreement. The Defendant understands that the
 rights of criminal defendants include the following:
        (a)     the right to plead not guilty and to persist in that plea;
        (b)     the right to ajury trial;

        (c)    the right to be represented by counsel - and if necessary have the court appoint
counsel — at trial and at every other stage ofthe proceedings;
       (d)     the right at trial to conffont and cross-examine adverse witnesses, to be protected
from compelled self-incrimination, to testify and present evidence, and to compel the attendance
of witnesses; and

       (e)     pursuant to Title 18, United States Code, Section 3742, the right to appeal the
sentenee imposed subject to this Agreement.

       Nonetheless, the Defendant knowingly waives the right to appeal or collaterally attack
the conviction and sentence(or the manner in which that sentence was determined)on the
grounds set forth in Title 18, United States Code, Section 3742, or on any ground whatsoever
except those specifically excluded in this Paragraph,in exchange for the concessions made by
the United States in this Agreement. This Agreement does not affect the rights or obligations of
the United States as set forth in Title 18, United States Code, Section 3742(b). The Defendant
also knowingly waives the right to bring any collateral challenge challenging either the
conviction or the sentence imposed in this case. The Defendant hereby waives all rights.


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  whether asserted directly or by a representative, to request or receive from any department or
  agency ofthe United States any records pertaining to the investigation or prosecution ofthis
  case, including without limitation any records that may be sought under the Freedom of
 Information Act, Title 5, United States Code, Section 552, or the Privacy Act, Title 5, United
 States Code, Section 552a. The Defendant waives all defenses based on the statute oflimitations
 and venue with respect to any prosecution related to the conduct described in the Information
 and Statement of Facts, including any prosecution that is not time-barred on the date that this
 Agreement is signed in the event that:(a)the conviction is later vacated for any reason;(b)the
 Defendant violates this Agreement; or(c)the plea is later withdrawn, provided such prosecution
 IS brought within one year ofany such vacation of conviction, violation ofagreement, or
 withdrawal ofplea plus the remaining time period ofthe statute of limitations as ofthe date that
 this Agreement is signed. The Fraud Section and the Office are free to take any position on
 appeal or any other post-judgment matter. The parties agree that any challenge to the
 Defendant's sentence that is not foreclosed by this Paragraph will be limited to that portion ofthe
sentencing calculation that is inconsistent with (or not addressed by)this waiver. Nothing in the
foregoing waiver of appellate and collateral review rights shall preclude the Defendant from
raising a claim of ineffective assistance of counsel in an appropriate forum.
                                             Penalty

        16.    The statutory maximum sentence that the Court can impose for a violation of Title
15, United States Code, Sections 78m(b)(2)(A) and 78m(b)(5)is a fine of$25,000,000 or twice
the gross pecuniary gain or gross pecuniary loss resulting from the offense, whichever is greatest.
Title 15, United States Code, Section 78ff(a) and Title 18, United States Code, Section 3571(c),
(d); five years' probation. Title 18, United States Code, Section 3561(c)(1); and a mandatory

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special assessment of$400 per count, Title 18, United States Code, Section 3013(a)(2)(B). In
this case, the parties agree that the gross pecuniary gain resulting from the offense is $3,624,490.
Therefore, pursuant to 18 U.S.C. § 3571(c), the maximum fine that may be imposed is
$25,000,000.

                                  Sentencing Recommendation

        17.    The parties agree that pursuant to United States v. Booker,543 U.S. 220(2005),
the Court must determine an advisory sentencing guideline range pursuant to the U.S.S.G. The
Court will then determine a reasonable sentence within the statutory range after considering the
advisory sentencing guideline range and the factors listed in Title 18, United States Code,
Section 3553(a). The parties' agreement herein to any guideline sentencing factors constitutes
proofofthose factors sufficient to satisfy the applicable burden of proof. The Defendant also

understands that ifthe Court accepts this Agreement,the Court is bound by the sentencing
provisions in Paragraphs 17-19.

       18.     The Fraud Section and the Office and the Defendant agree that a faithful

application ofthe U.S.S.G. to determine the applicable fine range yields the following analysis:
               a.     The 2016 U.S.S.G. are applicable to this matter.

               b.     Offense Level. Based upon U.S.S.G. § 2B 1.1, the total offense level is 27,
                      calculated as follows:

                     (a)(1)          Base Offense Level                            7

                     (b)(1)          Amount of Loss/Gain                           +18

                     (b)(10)         Substantial Part of Scheme Committed
                                     from Outside the United States                +2


                      TOTAL                                                         27




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               c.         Base Fine. Based upon U.S.S.G. § 8C2.4(a)(l) and (e)(1), the base fine is
                          $4,800,000

               d.         Culpability Score. Based upon U.S.S.G. § 8C2.5,the culpability score is
                       8, calculated as follows:

                      (a)        Base Culpability Score                              5

                      (b)(1) the organization within which the offense
                                 was committed had 5,000 or more employees and an
                                 individual within high-level personnel ofthe organization
                                 participated in, condoned, or was willfully ignorant
                                ofthe offense                                       +5

                      (8)(2) The organization fully cooperated in the investigation and clearly
                                demonstrated recognition and affirmative acceptance of
                                responsibility for its criminal
                                conduct                                             .2

                      TOTAL                                                          8


               Calculation of Fine Range:

               Base Fine                                             $4,800,000

               Multipliers                                           1.60(min)/3.20(max)
               Fine Range                                            $7,680,000(min)/
                                                                     $15,360,000(max)


       19.    Pursuant to Rule 11(c)(1)(C)of the Federal Rules of Criminal Procedure, the
Fraud Section, the Office, and the Defendant agree that the following represents the appropriate
disposition ofthe case:

              a.      Disposition. Pursuant to Fed. R. Crim.P. 11(c)(1)(C),the United States and
       the Defendant agree that the appropriate disposition of this case is as set forth above, and
       agree to recommend jointly that the Court at a hearing to be scheduled at an agreed upon
       time impose a sentence requiring the Defendant to pay a criminal fine of $724,898 and


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   criminal forfeiture of $3,624,490, payable in full at the time of the entry ofjudgment
   following such sentencing hearing ("the recommended sentence"). The parties agree that,
  in light of the Walmart NPA which requires the Parent Company to pay a total monetary
  penalty of$137,955,249, in part as a result of conduct by the Defendant, and the criminal
  forfeiture of$3,624,490 imposed on the Defendant, a $724,898 fine should be imposed on
  the Defendant.

          b.     Forfeiture: The Defendant hereby admits and acknowledges that in
  connection with the criminal conduct as charged in Count One of the Information, at least
  $3,624,490 in proceeds was obtained. Pursuant to Title 18, United States Code, Section
  981(a)(1)(C), and Title 28, United States Code, Section 2461, the Defendant agrees to
  forfeit $3,624,490 in United States currency (the "Forfeiture Amount"), representing the
  amount of proceeds traceable to the violations set forth in Count One of the Information

  and agrees to the imposition of an Order of Forfeiture against it and in favor ofthe United

  States in that amount. The Defendant acknowledges that more than $3,624,490 in actual

  proceeds have been dissipated or have been commingled with other property which cannot
  be divided without difficulty, such that the actual proceeds are no longer readily
  identifiable and available. Defendant therefore stipulates and admits that one or more of

  the conditions set forth in Title 21, United States Code, Section 853(p), exists. No later
  than ten business days after the Defendant's sentencing hearing, the Defendant shall cause
  the transfer of the Forfeiture Amount, plus any associated transfer fees, pursuant to
  payment instructions provided by the United States in order to fully satisfy the forfeiture
  money judgment. The United States agrees that payments made by or on behalf of the
  Defendant shall be credited against the total monetary penalty agreed to in the Walmart


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        NPA. The Defendant consents to the entry of the Proposed Order of Forfeiture annexed
        hereto as Exhibit 3 and agrees pursuant to Federal Rule of Criminal Procedure

        32.2(b)(4)(A)that the Order of Forfeiture shall be final as to the Defendant at the time it is
        ordered by the Court.

               c.      The Defendant shall not seek or accept directly or indirectly reimbursement
        or inderrmification from any source, other than from Walmart, with regard to the penalty
        or disgorgement amounts that Defendant pays pursuant to the Agreement or any other
       agreement entered into with an enforcement authority or regulator concerning the facts set
       forth in Exhibit 2. The Defendant further acknowledges that no tax deduction may be
       sought in connection with the payment ofany part of this $724,898 fine and $3,624,490 in
       criminal forfeiture. The Fraud Section and the Office believe that a disposition that
       includes a $724,898 fine and $3,624,490 in criminal forfeiture is appropriate based on the
       facts and circumstances presented by this case,including the factors described in Paragraph
       6 ofthe Agreement and those in 18 U.S.C. § 3553(a).

               d.       Mandatory Special Assessment. The Defendant shall pay to the Clerk of
       the Court for the United States District Court for the Eastern District of Virginia within ten
       days ofthe time ofsentencing the mandatory special assessment of$400 per count.
       20.     This Agreement is presented to the Court pursuant to Fed. R. Crim. P.

11(c)(1)(C). The Defendant understands that, ifthe Court rejects this Agreement,the Court
must:(a)inform the parties that the Court rejects the Agreement;(b)advise the Defendant's
counsel that the Court is not required to follow the Agreement and afford the Defendant the

opportunity to withdraw its plea; and (c)advise the Defendant that ifthe plea is not withdrawn,
the Court may dispose ofthe case less favorably toward the Defendant than the Agreement


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 contemplated. The Defendant further understands that ifthe Court refuses to accept any
 provision ofthis Agreement, neither party shall be bound by the provisions ofthe Agreement.
        21.    The Defendant,the Fraud Section, and the Office waive the preparation of a
Presentence Investigation Report. The Defendant understands that the decision whether to
proceed with the sentencing proceeding without a Presentence Investigation Report is
exclusively that ofthe Court. In the event the Court directs the preparation of a Presentence
Investigation Report, the Fraud Section and the Office will fully inform the preparer of the
Presentence Investigation Report and the Court ofthe facts and law related to the Defendant's

case, including the Defendant's and the Parent Company's substantial cooperation and
remediation as described herein. The parties further agree to request that the Court combine the
entry ofthe guilty plea and sentencing into one proceeding. The parties, however, agree that in
the event the Court orders that the entry ofthe guilty plea and sentencing hearing occur at
separate proceedings, such an order will not affect the Agreement set forth herein. In the event

the Court orders separate proceedings, at the time ofthe plea hearing, the parties will suggest
mutually agreeable and convenient dates for the sentencing hearing with adequate time for(a)
any objections to the Presentence Investigation Report(if the Court directs the preparation of
such a report), and (b)consideration by the Court ofthe Presentence Investigation Report(ifthe
Court directs the preparation ofsuch a report) and the parties' sentencing submissions.

                                     Breach of Agreement

       22.    If during the period ofthree years from the date this Agreement is entered the
Defendant(a)commits any felony under U.S. federal law;(b) provides in connection with this

Agreement deliberately false, incomplete, or misleading information;(c)fails to cooperate as set
forth in Paragraph 8 of this Agreement;(d)commits any acts that, had they occurred within the


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jurisdictional reach ofthe FCPA, would be a violation ofthe FCPA;or(e)otherwise fails
specifically to perform or to fulfill completely each ofthe Defendant's obligations under the
 Agreement, regardless of whether the Fraud Section and the Office become aware ofsuch a
breach after the three years from the date this Agreement is entered, the Defendant shall
thereafter be subject to prosecution for any federal criminal violation of which the Fraud Section
and the Office have knowledge, including, but not limited to, the charges in the Information
described in Paragraph 1, which may be pursued by the Office in the U.S. District Court for the
Eastern District of Virginia or any other appropriate venue. Determination of whether the

Defendant has breached the Agreement and whether to pursue prosecution of the Defendant shall
be in the Fraud Section and the Office's sole discretion. Any such prosecution may be premised
on information provided by the Defendant. Any such prosecution relating to the conduct
described in the Statement of Facts or relating to conduct known to the Fraud Section and the

Office prior to the date on which this Agreement was signed that is not time-barred by the
applicable statute oflimitations on the date ofthe signing ofthis Agreement may be commenced
against the Defendant, notwithstanding the expiration of the statute oflimitations, in the three
years from the date of sentencing plus one year. Thus, by signing this Agreement, the Defendant
agrees that the statute of limitations with respect to any such prosecution that is not time-barred

on the date of the signing ofthis Agreement shall be tolled for the period of three years from the
date ofsentencing plus one year. The Defendant gives up all defenses based on the statute of
limitations, any claim of pre-indictment delay, or any speedy trial claim with respect to any such
prosecution or action, except to the extent that such defenses existed as of the date ofthe signing
ofthis Agreement. In addition, the Defendant agrees that the statute of limitations as to any
violation offederal law that occurs during the term ofthe cooperation obligations provided for in


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 Paragraph 8 ofthe Agreement or three years from the date this Agreement is entered will be
 tolled from the date upon whieh the violation occurs until the earlier ofthe date upon which the
 Fraud Section and the Office are made aware ofthe violation or three years from the date this
 Agreement is entered plus five years, and that this period shall be excluded from any calculation
of time for purposes ofthe application of the statute of limitations.

        23.    In the event the Fraud Section and the Office determine that the Defendant has

breached this Agreement,the Fraud Section and the Office agree to provide the Defendant with
written notice ofsuch breach prior to instituting any prosecution resulting from such breach.
Within sixty days ofreceipt of such notice, the Defendant shall have the opportunity to respond
to the Fraud Section and the Office in writing to explain the nature and circumstances of such

breach, as well as the actions the Defendant has taken to address and remediate the situation,
which explanation the Fraud Section and the Office shall consider in determining whether to
pursue prosecution of the Defendant.

       24.     In the event that the Fraud Section and the Office determine that the Defendant

has breaehed this Agreement:(a)all statements made by or on behalf of the Defendant to the
Fraud Seetion and the Office or to the Court, including the attached Statement of Facts, and any
testimony given by the Defendant before a grand jury, a court, or any tribunal, or at any
legislative hearings, whether prior or subsequent to this Agreement, and any leads derived from
such statements or testimony, shall be admissible in evidence in any and all criminal proceedings
brought by the Fraud Section and the Office against the Defendant; and (b)the Defendant shall
not assert any claim under the United States Constitution, Rule 11(f) ofthe Federal Rules of

Criminal Procedure, Rule 410 ofthe Federal Rules of Evidence, or any other federal rule that any
such statements or testimony made by or on behalf ofthe Defendant prior or subsequent to this


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 Agreement, or any leads derived therefrom, should be suppressed or are otherwise inadmissible.
 The decision whether conduct or statements of any current director, officer or senior employee,
 or any person acting on behalf of and at the direction of, the Defendant, will be imputed to the
Defendant for the purpose ofdetermining whether the Defendant has violated any provision of
this Agreement shall be in the sole discretion ofthe Fraud Section and the Office.

        25.    The Defendant acknowledges that the Fraud Section and the Office have made no

representations, assurances, or promises concerning what sentence may be imposed by the Court
ifthe Defendant breaches this Agreement and this matter proceeds to judgment. The Defendant
further acknowledges that any such sentence is solely within the discretion ofthe Court and that
nothing in this Agreement binds or restricts the Court in the exercise ofsuch discretion.

                              Public Statements by the Defendant

        26.     The Defendant expressly agrees that it shall not, through present or future
attorneys, officers, directors, employees, agents or any other person authorized to speak for the
Defendant make any public statement, in litigation or otherwise, contradicting the acceptance of
responsibility by the Defendant set forth above or the facts described in the Information and the

Statement of Facts. Any such contradictory statement shall, subject to cure rights ofthe
Defendant described below, constitute a breach ofthis Agreement, and the Defendant thereafter
shall be subject to prosecution as set forth in Paragraphs 21-23 ofthis Agreement. The decision
whether any public statement by any such person contradicting a fact contained in the
Information or the Statement ofFacts will be imputed to the Defendant for the purpose of
determining whether it has breached this Agreement shall be at the sole discretion ofthe Fraud

Section and the Office. If the Fraud Section and the Office determine that a public statement by
any such person contradicts in whole or in part a statement contained in the Information or the



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 Statement ofFacts, the Fraud Section and the Office shall so notify the Defendant, and the
 Defendant may avoid a breach ofthis Agreement by publicly repudiating such statement(s)
 within five business days after notification. The Defendant shall be permitted to raise defenses
and to assert affirmative claims in other proceedings relating to the matters set forth in the
Information or the Statement ofFacts provided that such defenses and claims do not contradict,
in whole or in part, a statement contained in the Information or the Statement of Facts. This

Paragraph does not apply to any statement made by any current or former officer, director,
employee, or agent of the Defendant in the course of any criminal, regulatory, or civil case
initiated against such individual, unless such individual is speaking on behalf of the Defendant.
        27.     The Defendant agrees that if it or any of its current or future direct or indirect

subsidiaries or affiliates issues a press release or holds any press conference in connection with
this Agreement, the Defendant shall first consult the Fraud Section and the Office to determine

(a) whether the text ofthe release or proposed statements at the press conference are true and

accurate with respect to matters between the Fraud Section, the Office, and the Defendant; and
(b) whether the Fraud Section and the Office have any objection to the release or statement.

                                      Complete Agreement

        28.    This document states the full extent ofthe Agreement between the parties. There
are no other promises or agreements, express or implied. Any modification ofthis Agreement
shall be valid only if set forth in writing in a supplemental or revised plea agreement signed by
all parties.




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AGREED:
FOR WMT Brasilia S.a.r.l.


Date: June             *?           By:
                                          Gordon Y. All^n
                                          Class A Manager
                                          WMT Brasilia S.a.r.l.



Date:                               By:
                                          JONES DAY
                                          Karen P, Hewitt
                                          Counsel for WMT Brasilia S.a.r.l.

FOR THE DEPARTMENT OF JUSTICE:


ROBERT ZINK                               G. ZACMARY TERWILLIGER
Acting Chief, Fraud Section               United States Attorney
Criminal Division                         United States Attorney's Office
U.S. Department of Justice                Eastern District of Virginia



T^ek Hclou                                  lar Walker
Lorinda Laryea                            i.ssistant United Stales Attorney
Assistant Chiefs
Katherine Raut
John-Alex Romano
Trial Attorneys




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                                      EXHIBIT 1

                 CERTIFICATE OF rORPQRATE RESOLUTIONS

A copy ofthe executed Certificate ofCorporate Resolutions is annexed hereto as "Exhibit L'




                                        Ex. 1-1
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                                      WMT Brasilia S.a.r.l.
                Resolution ofthe Board of Managers of WMT Brasiiia S.a.r.1.
                                          June 7,2019

WHEREAS,the WMT Brasilia Board of Managers has been fully informed by counsel ofthe
proposed settlement with Department ofJustice, Criminal Division, Fraud Section and the
United Stetes Attorney's Office for the Eastern District of Virginia(the "Fraud Section and the
Office')in cormection with the Fraud Section and the Office's investigation into a criminal
violation ofthe Foreign Corrupt Practices Act("FCPA"),and the key terms ofthe proposed
settlement have been explained or distributed to the WMT Brasilia Board of Managers; and
WHEREAS,pursuant to the Plea Agreement between WMT Brasilia and the Fraud Section and
the Office:(1) WMT Brasilia will, through an authorized agent, plead guilty to one count of
causing a violation ofthe books and records provisions ofthe FCPA;(2)in light ofthe
disposition with WMT Brasilia's ultimate parent corporation, Walmart Inc.("Walmart"), WMT
Brasilia will have a fine of$724,898 and criminal forfeiture of$3,624,490 imposed on it'; and(3)
WMT Brasilia will agree to the other commitments set out in the Plea Agreement; and
TOEREAS,the WMT Brasilia Board of Managers has been fully advised by counsel ofits
rights, possible defenses, the Sentencing Guidelines' provisions, and the consequences of
entering into the Plea Agreement,

NOW,THEREFORE,BE IT RESOLVED THAT,the WMT Brasilia Board of Managers hereby
approves the proposed settlement related to the completion ofthe proceeding against WMT
Brasilia, and approves and authorizes WMT Brasilia,through its authorized agent,to enter into
the Plea Agreement in substantially such form as reviewed by the WMT Brasilia Board of
Managers, and the actions contemplated thereby, including the entry by WMT Brasilia ofa
guilty plea,

AND BE IT FURTHER RESOLVED THAT,the WMT Brasilia Board of Managers hereby
empowers and obliges Gordon Y. Allison,Esq., Class A Manager, WMT Brasilia S.a.r.l., acting
on the basis ofthe power ofattorney issued by WMT Brasilia S.a.r.1.(the "Authorized
Signatory"),to:(1)execute and deliver the Plea Agreement and any other documents necessary
to enter into the proposed settlement with the Fraud Section and the Office; and(2)enter a guilty
plea before the United States District Court for the Eastern District ofVirginia and accept the
sentence ofsaid court on behalf of WMT Brasilia.
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                                                             Board of Managers


                                            Gordon Y.Allisopd^q.,Class A Manager



                                                     GeofiFAdams,Class B Manager



                                                    Stephane Reul, Class B Manager



                                               Antoine Berckmans, Class B Manager
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                                                             Board of Managers



                                            Gordon Y. Allison,Esq., Class A Manager


                                                             (Xd^A/t/KA
                                                     Geoff Adams, Class A Manager




                                                    Stephane Reul, Class B Manager




                                               Antoine Berckmans, Class B Manager
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                                                                    Board of Managers



                                                  Gordon Y. Allison, Esq., Class A Manager




                                                           Geoff Adams,Class B Manager




                                                          Stephane Reul, Class B Manager




                                                     Anioine Berckmans, Class B Manager




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                                                            Board of Managers



                                           Gordon Y. Allison, Esq., Class A Manager




                                                     GeofTAdams, Class B Manager




                                                    Stephane Reul, Class B Manager




                                               Antoine Berckmans,Class B Manager
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                                            EXHIBIT 2
                                   STATEMENT OF FACTS

        The following Stipulated Statement of Facts("Statement of Facts") is incorporated by

reference as part ofthe Plea Agreement(the "Agreement") between the United States

Department of Justice, Criminal Division, Fraud Section and the United States Attorney's Office

for the Eastern District of Virginia, and WMT Brasilia S.a.r.l("WMT Brasilia"). WMT Brasilia

hereby agrees and stipulates that the following information is true and accurate at all times

relevant to the Statement of Facts. WMT Brasilia admits, accepts, and acknowledges that it is

responsible for the acts of its officers, directors, employees, and agents as set forth below:

                                Relevant Entities and Individuals

       1.       Walmart Inc.("Walmart") was, at all times relevant to the conduct described in

this Statement of Facts, a Bentonville, Arkansas-based retail company. Walmart's shares were

publicly traded on the New York Stock Exchange, and Walmart therefore was an "issuer" within

the meaning ofthe Foreign Corrupt Practices Act("FCPA"), Title 15, United States Code,

Section 78dd-l, et seq.

       2.       WMT Brasilia was a wholly-owned subsidiary of Walmart and was a majority-
owner of Walmart's wholly-owned subsidiary in Brazil, which was headquartered in Sao Paulo,

Brazil("Walmart Brazil"). Accordingly, WMT Brasilia was the majority-owner of Walmart

Brazil and was the majority-owner of retail stores operating as Walmart Brazil.

       3.       Senior Walmart Brazil Attorney was a senior attorney at Walmart Brazil from

2007 to 2012.

       4.       Brazil Intermediary was a third-party intermediary ("TPI") hired by two Brazilian

construction companies to obtain permits for two Walmart Brazil stores.




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                               Overview of the Unlawful Scheme

         5.    From in or around 2009 through in or around 2010, Walmart Brazil knowingly

and willfully caused Walmart to maintain certain records, which did not, in reasonable detail,

accurately and fairly reflect the transactions and dispositions ofthe assets of Walmart.

Specifically, Walmart Brazil falsely recorded $527,000 in payments to Brazil Intermediary as

payments to certain Brazil construction companies even though Walmart Brazil employees

intended that the payments would go to Brazil Intermediary and knew that the payments would

go to Brazil Intermediary. These false records were then consolidated into Walmart's financial

records and were used to support Walmart's own financial reporting. Walmart Brazil caused

these payments to be falsely recorded in Walmart's books and records.

         6.    Walmart Brazil earned approximately $3,624,490 in profits from certain Walmart

Brazil stores built by(1) a Brazilian construction company ("Brazil Construction Company")
that facilitated the indirect hiring of Brazil Intermediary on behalfof Walmart Brazil and,

without Walmart Brazil's knowledge, made improper payments on Walmart Brazil's behalf

directly and through Brazil Intermediary, and (2) another Brazilian construction company that
facilitated Brazil Intermediary's indirect employment on behalfof Walmart Brazil, as detailed

below.


    Walmart Brazil's Causing Walmart to Maintain Certain False Rooks. Records, and
                                            Accounts

         7.    Walmart Brazil did not conduct any due diligence on Brazil Construction

Company prior to hiring it in 2008. Later, in or around late 2009, Brazil Construction Company
failed a preliminary round of vendor due diligence. However, the Walmart Brazil Ethics and

Compliance Department had no mechanism in place in 2009 to ensure that third parties who
failed preliminary due diligence were suspended pending final due diligence, and, during the

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relevant time period, Walmart Brazil did not ensure that Brazil Construction Company was no

longer used or paid. During the relevant time period, Brazil Construction Company was

permitted to continue working for Walmart Brazil, and according to an employee of Brazil

Construction Company who is no longer employed by Brazil Construction Company, Brazil

Construction Company made improper payments to government inspectors in connection with

the construction oftwo stores in Brazil without the knowledge of Walmart Brazil employees.

       8.      In or around 2009, Walmart Brazil directed Brazil Construction Company to

retain an intermediary to assist it in obtaining a construction permit needed to begin construction

of another store for Walmart Brazil. Brazil Construction Company retained Brazil Intermediary

who, working for and under the direction of Brazil Construction Company, assisted in obtaining

the construction permit.

       9.      In late 2009, Walmart Brazil sought Brazil Intermediary's assistance on the same

store and negotiated Brazil Intermediary's scope of work and fees directly with Brazil

Intermediary. Rather than hiring Brazil Intermediary directly, Walmart Brazil instead amended

the contracts with Brazil Construction Company to include a description of Brazil Intermediary's

work and the cost associated with that work. All ofthis occurred despite red flags indicating that

Brazil Intermediary was a government employee and was an individual, not a business with a

registered corporate form.

       10.     Specifically, a Walmart Brazil Government Affairs employee informed a Walmart

Brazil Ethics and Compliance employee and Senior Walmart Brazil Attorney that he believed

that Brazil Intermediary was a government official and that Walmart Brazil itself was not

allowed to hire civil servants. The Walmart Brazil Government Affairs employee and the

Walmart Brazil Ethics and Compliance employee agreed that hiring Brazil Intermediary could


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expose Walmart Brazil to certain risks. Further, a member of Walmart Brazil's construction

department later recounted the member's beliefthat Walmart Brazil could not hire Brazil

Intermediary directly because Brazil Intermediary used to be a government official and did not

have a company. Despite these red flags, Walmart Brazil hired Brazil Intermediary indirectly
through Brazil Construction Company and later through another Brazilian construction company
in connection with work on a second store in Brazil. Senior Walmart Brazil Attorney knew
about the indirect hiring of Brazil Intermediary through Brazil Construction Company for the
first store and was involved in a discussion regarding how Walmart Brazil would pay Brazil
Intermediary.

        11.     In or around December 7,2009, Senior Walmart Brazil Attomey was informed by
others at Walmart Brazil that Brazil Intermediary's proposal to obtain licenses and permits for
Walmart Brazil been approved by Walmart Brazil.

       12.      According to the same employee of Brazil Construction Company who worked

on the first store and who is no longer employed by Brazil Construction Company,the employee,
without the knowledge or awareness of Walmart Brazil, gave Brazil Intermediary cash in

connection with obtaining the construction permit for the first store in or around July 2Q09 even

though Brazil Intermediary had told the Brazil Construction Company employee that the some of

the money was for "people I have to pay," which the employee stated he understood meant

making improper payments to government employees.

       13.      Brazil Intermediary's ability to obtain licenses and permits quickly earned Brazil

Intermediary the nickname "sorceress" or "genie" within Walmart Brazil based on Brazil

Intermediary's ability to acquire permits quickly by "sort[ing] things out like magic."




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       14.     Knowing that Walmart was a U.S. issuer, and that Walmart Brazil's books and

records were used by Walmart to create financial records to be publicly filed with the U.S.

Securities and Exchange Commission, Walmart Brazil falsely recorded its payments to Brazil
Intermediary for its services as payments to the Brazil construction companies, not as payments
to Brazil Intermediary. These records were then consolidated into and used to support certain
Walmart financial reports and did not accurately and fairly reflect the transactions and

dispositions of Walmart's assets in relation to the Brazil Intermediary payments.




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                                           EXHIBIT 3

                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA


    UNITED STATES OF AMERICA                            CONSENT PRELIMINARY ORDER
                                                        OF FORFEITURE/MONEY
                   V.                                   JUDGMENT
                                                        CRIMINAL NO.I:19crl92
    WMT Brasilia S.a.r.l.




        WHEREAS,on June 20, 2019, WMT Brasilia S.a.r.l.,(the "Defendant"), was charged in
a one-count Information, 19 Or. 192(the "Information"), with causing a violation of the books

and records provisions of the Foreign Corrupt Practices Act of 1977(the "FCPA"), in violation
of Title 15, United States Code, Sections 78m(b)(2)(A), 78m(b)(5), 78ff(a), and Title 18, United
States Code, Section 2(b)("Count One");

       WHEREAS,the Information included a forfeiture allegation as to Count One,seeking
forfeiture to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C),
and Title 28, United States Code, Section 2461, ofany and all property, real or personal, that

constitutes or is derived from proceeds traceable to the commission of the offense alleged in
Count One ofthe Information, including, but not limited to, a sum of money in United States
currency representing the amount of proceeds traceable to the commission of said offense;

       WHEREAS,on June 20, 2019, the Defendant pled guilty to Count One of the

Information, pursuant to an agreement(the "Plea Agreement") with the Department of Justice,
Criminal Division, Fraud Section and the United States Attorney's Office for the Eastern District

of Virginia(the "Government"), wherein the Defendant(1)admitted that forfeiture applies with
respect to Count One ofthe Information and agreed to forfeit to the United States, pursuant to


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 Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section
 2461,a sum of$3,624,490 in United States currency (the "Forfeiture Amount"),representing the
 amount of proceeds traceable to the violations set forth in Count One ofthe Information (the
  Money Judgment)and (2)agreed to transfer $3,624,490 in United States currency plus any
associated transfer fees to the United States no later than 10 business days after the Defendant's
sentencing hearing, in full satisfaction ofthe Money Judgment;

        WHEREAS,the Government agrees, pursuant to the Plea Agreement, that payments
made by or on behalfofthe Defendant shall be credited against the total monetary penalty agreed
to by Walmart Inc., the Defendant's parent company, pursuant to a non-prosecution agreement
with the Government(the "Walmart NPA")upon the Government's receipt of proof ofsuch
payments;

       IT IS HEREBY STIPULATED AND AGREED,by and between the United States of

America, by and through its attorneys, and the Defendant, by and through its counsel, Karen P.
Hewitt, Esq. of Jones Day,that:

       1.      As a result of the offense charged in Count One of the Information, to which the

Defendant pled guilty, a money judgment in the amount of$3,624,490 in United States currency
(the "Money Judgment") shall be entered against the Defendant.

       2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, WMT
Brasilia S.a.r.l., upon entry ofthis Consent Preliminary Order of Forfeiture/Money Judgment, and
shall be deemed part of the sentence of the Defendant, and shall be included in the judgment of
conviction therewith.




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        3.     By no later than ten business days after the date of the Defendant's sentencing

hearing, the Defendant shall transfer $3,624,490 in United States currency plus any associated
transfer fees to the United States by wire transfer to the United States Marshals Service (or its
designee) in full satisfaction ofthe Money Judgment.

        4.     Upon execution ofthis Consent Preliminary Order of Forfeiture/Money Judgment,
and pursuant to Title 21, United States Code, Section 853,the United States Marshals Service (or
its designee), shall be authorized to deposit the payments on the Money Judgment into the
Department of Justice Assets Forfeiture Fund, and the United States shall have clear title to such

forfeited property.

       5.      The Court shall retain jurisdiction to enforce this Consent Preliminary Order of

Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2(e) ofthe Federal
Rule of Criminal Procedure.

       6.      The Clerk of the Court shall forward three certified copies of this Consent
Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Jamar
Walker, U.S. Attorney's Office for the Eastern District of Virginia, Justin W. Williams United

States Attorney's Building, 2100 Jamieson Ave., Alexandria, VA 22314.

       7.      The signature page of this Consent Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of which will be deemed an original
but all of which together will constitute one and the same instrument. A facsimile or electronic

image of the original signature of any party executing this Consent Preliminary Order of
Forfeiture/Money Judgment shall be deemed an original signature and shall constitute an original
as against the party whose signature appears in the facsimile or electronic image.




                                             Ex. 3-3
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 AGREED:
 FOR WMT Brasilia S.a.r.I.


 Date:                               By:
                                             Gordon Y. Allison
                                             Class A Manager
                                             WMT Brasilia S.a.r.l


 Date:                               By:
                                             JONES DAY
                                             Karen P. Hewitt
                                             Counsel for WMT Brasilia S.a.r.


 FOR THE GOVERNMENT:


 ROBERT ZINK                            G.ZACHARY TERWILLIGER
 Acting Chief, Fraud Section            United States Attorney
 Criminal Division                      United States Attorney's Office
 U.S. Department of Justice             Eastern District of Virginia



 Tarek Helou                            Jamar Walker
 Lorinda Laryea                         Assistant United States Attorney
 Assistant Chiefs
 Katherine Raut
 John-Alex Romano
 Trial Attorneys




SO ORDERED:




Date:




                                   Ex. 3-4
